                                               United States Bankruptcy Court
                                                 Northern District of Ohio
In re:                                                                                                     Case No. 17-17361-aih
Richard M. Osborne                                                                                         Chapter 11
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 0647-1                  User: mgaug                        Page 1 of 2                          Date Rcvd: May 22, 2018
                                      Form ID: pdf739                    Total Noticed: 12


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
May 24, 2018.
db             +Richard M. Osborne,    7265 Markell Road,    Waite Hill, OH 44094-9312
aty            +Gregory M. Dennin,   Dennin & Dennin,     2745 Main Street,    Lake Placid, NY 12946-3559
cr             +CSX Transportation, Inc.,    c/o McGuireWoods LLP,    50 N. Laura Street, Suite 3300,
                 Jacksonville, FL 32202-3661
cr             +Chicago Title Insurance Company,    2533 North 117th Avenue,     Omaha, NE 68164-3679
cr              Citizens Bank, N.A.,    c/o Michael S. Tucker, Esq.,    1660 West 2nd Street, Suite 1100,
                 Cleveland, OH 44113-1448
cr             +Estate of Jerome T. Osborne,    c/o Kirk W. Roessler, Esq.,     1301 East Ninth Street Suite 3500,
                 Cleveland, OH 44114-1838
cr             +First National Bank of Pennsylvania,     c/o Buckingham, Doolittle & Burroughs,
                 1375 East 9th Street Suite 1700,     Cleveland, OH 44114-1790
intp           +Lakeland Community College,    c/o Alison L. Archer,    Assistant Attorney General,
                 615 W. Superior Ave.,    11th Floor,    Cleveland, OH 44113-1899
cr             +Michael E. Osborne, Sr.,    7670 Tyler Blvd.,    Mentor, OH 44060-4853
cr             +Ohio Department of Taxation,    c/o William C. Huffman,     24441 Detroit Road, Suite 300,
                 Westlake, OH 44145-1543
cr             +The Huntington National Bank,    c/o Timothy P. Palmer, Esq.,     Buchanan Ingersoll & Rooney PC,
                 One Oxford Centre 20th floor,    Pittsburgh, PA 15219-1400

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
intp           +E-mail/Text: ecf@buckleyking.com May 22 2018 22:00:25     Zachary B Burkons,
                 c/o Buckley King LPA,   600 Superior Ave., Suite 1400,   Cleveland, OH 44114-2693
                                                                                             TOTAL: 1

             ***** BYPASSED RECIPIENTS (undeliverable, * duplicate) *****
cr                Bank of America, N.A.
cr                Mentor Lumber & Supply Co.
cr                Tax Ease Ohio, LLC
                                                                                                                    TOTALS: 3, * 0, ## 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: May 24, 2018                                             Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on May 22, 2018 at the address(es) listed below:
              Adam S. Baker    on behalf of Creditor Michael E. Osborne, Sr. abakerlaw@sbcglobal.net,
               adam@bakerlaw.us;abakerlaw@gmail.com
              Alison L. Archer    on behalf of Interested Party    Lakeland Community College
               alison.archer@ohioattorneygeneral.gov,
               Trish.Lazich@ohioattorneygeneral.gov;angelique.dennis-noland@ohioattorneygeneral.gov
              Andrew M. Tomko    on behalf of Creditor   Tax Ease Ohio, LLC atomko@sandhu-law.com,
               bk1notice@sandhu-law.com
              Austin B. Barnes, III    on behalf of Creditor    Tax Ease Ohio, LLC abarnes@sandhu-law.com,
               bk1notice@sandhu-law.com
              Christopher J. Klym    on behalf of Creditor    Ohio Department of Taxation bk@hhkwlaw.com
              David T. Brady    on behalf of Creditor   Tax Ease Ohio, LLC DBrady@Sandhu-Law.com,
               bk1notice@sandhu-law.com
              Frederic P. Schwieg    on behalf of Debtor Richard M. Osborne fschwieg@schwieglaw.com
              Gregory P. Amend    on behalf of Creditor    First National Bank of Pennsylvania gamend@bdblaw.com,
               grichards@bdblaw.com
              Jeffrey C. Toole    on behalf of Interested Party Zachary B Burkons toole@buckleyking.com,
               young@buckleyking.com;heberlein@buckleyking.com
              John J. Rutter    on behalf of Creditor   Mentor Lumber & Supply Co. jrutter@ralaw.com
              Kirk W. Roessler    on behalf of Creditor    Estate of Jerome T. Osborne kroessler@walterhav.com,
               kballa@walterhav.com;slasalvia@walterhav.com


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                              Form ID: pdf739              Total Noticed: 12


The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system (continued)
              Maria D. Giannirakis ust06     on behalf of U.S. Trustee    United States Trustee
               maria.d.giannirakis@usdoj.gov
              Matthew H. Matheney    on behalf of Creditor    First National Bank of Pennsylvania
               mmatheney@bdblaw.com, bhajduk@bdblaw.com
              Michael J. Sikora, III    on behalf of Creditor    Chicago Title Insurance Company
               msikora@sikoralaw.com, aarasmith@sikoralaw.com;mtroha@sikoralaw.com
              Michael S. Tucker    on behalf of Creditor    Citizens Bank, N.A. mtucker@ulmer.com
              Nathaniel R. Sinn    on behalf of Creditor    First National Bank of Pennsylvania nsinn@bdblaw.com,
               kslatinsky@bdblaw.com
              Rachel L. Steinlage    on behalf of Interested Party Zachary B Burkons rsteinlage@meyersroman.com,
               jray@meyersroman.com;mnowak@meyersroman.com
              Robert D. Barr    on behalf of Creditor    Chicago Title Insurance Company rbarr@koehler.law,
               rbarr@koehler.law
              Scott R. Belhorn ust35     on behalf of U.S. Trustee    United States Trustee
               Scott.R.Belhorn@usdoj.gov
              Stephen R. Franks    on behalf of Creditor    Bank of America, N.A. amps@manleydeas.com
              Timothy P. Palmer    on behalf of Creditor    The Huntington National Bank timothy.palmer@bipc.com,
               donna.curcio@bipc.com
                                                                                              TOTAL: 21




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   The court incorporates by reference in this paragraph and adopts as the findings and orders of this court
   the document set forth below. This document was signed electronically on May 22, 2018, which may be
   different from its entry on the record.



   IT IS SO ORDERED.

   Dated: May 22, 2018




                               UNITED STATES BANKRUPTCY COURT
                               FOR THE NORTHERN DISTRICT OF OHIO

   In re:                                                )    Case No. 17-17361
                                                         )
   RICHARD MCKAY OSBORNE,                                )    Chapter 11
                                                         )
                            Debtor.                      )    Judge ARTHUR I. HARRIS
                                                         )
                                                         )    ORDER GRANTING MOTION
                                                         )    OF ESTATE OF JEROME T. OSBORNE
                                                         )    FOR RELIEF FROM STAY
                                                         )    EXPECTANCY INTEREST IN THE
                                                         )    ESTATE OF JEROME T. OSBORNE


            This matter came before the Court on the Motion for Relief from Stay (the AMotion@)

   filed by The Estate of Jerome T. Osborne (AMovant@). Movant has alleged that good cause for

   granting the Motion exists, and that Debtor, counsel for the Debtor, and all other necessary

   parties were served with the Motion, and with notice of the hearing date on the Motion. No party

   filed a response or otherwise appeared in opposition to the Motion, or all responses have been

   withdrawn. For these reasons, it is appropriate to grant the relief requested.



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            IT IS, THEREFORE, ORDERED that the Motion is granted.             The automatic stay

   imposed by ' 362 of the Bankruptcy Code is terminated with respect to the Movant, its

   successors, and assigns and Movant may proceed to exercise its rights of set off under 11 U.S.C.

   § 553(a) and applicable non-bankruptcy law.


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   SUBMITTED BY:

   /s/ Kirk w. Roessler
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   Estate of Jerome T. Osborne




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